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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHEN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


ATARAH MCCOY                                  §
                                              §
       Plaintiff,                             §
                                              §
vs.                                           §      CIVIL ACTION NO.: 4:23-CV-04127
                                              §      JUDGE CHARLES ESKRIDGE
                                              §
SHAULIS BOOKER AND                            §
TELAMON CORPORATION                           §
                                              §
       Defendants.                            §


                                  CHARGE OF THE COURT
MEMBERS OF THE JURY:
       This case is submitted to you by asking questions about the facts which you must decide
from the evidence you have heard in this trial. In discharging your responsibility on this jury, you
will observe all the instructions which have previously been given to you.

       After the closing arguments, you will go to the jury room to decide the case, answer the
questions that are attached, and reach a verdict. You may discuss the case with other jurors only
when you are all together in the jury room.
        Remember my previous instructions: Do not discuss the case with anyone else, either in
person or by any other means. Do not do any independent investigation about the case or conduct
any research. Do not look up any words in dictionaries or on the Internet. Do not post information
about the case on the Internet. Do not share any special knowledge or experiences with the other
jurors. Do not use your phone or any other electronic devices during your deliberations for any
reason. The bailiff will give you a number where others may contact you in case of an emergency.
        Any notes you have taken are for your own personal use. You may take your notes back
into the jury room and consult them during deliberations, but do not show or read your notes to
your fellow jurors during your deliberations. Your notes are not evidence. Each of you should
rely on your independent recollection of the evidence and not be influenced by the fact that another
juror has or has not taken notes.
        You must leave your notes with the bailiff when you are not deliberating. The bailiff will
give your notes to me promptly after collecting them from you. I will make sure your notes are
kept in a safe, secure location and not disclosed to anyone. After you complete your deliberations,




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the bailiff will collect your notes. When you are released from jury duty, the bailiff will promptly
destroy your notes so that nobody can read what you wrote.
       Here are the instructions for answering the questions.
       1. Do not let bias, prejudice, or sympathy play any part in your decision.
        2. Base your answers only on the evidence admitted in court and on the law that is in these
instructions and questions. Do not consider or discuss any evidence that was not admitted in the
courtroom.
        3. You are to make up your own minds about the facts. You are the sole judges of the
credibility of the witnesses and the weight to give their testimony. But on matters of law, you
must follow all of my instructions.
       4. If my instructions use a word in a way that is different from its ordinary meaning, use
the meaning I give you, which will be a proper legal definition.
       5. All the questions and answers are important. No one should say that any question or
answer is not important.
       6. Answer “yes” or “no” to all questions, unless you are told otherwise. A “yes” answer
must be based on a preponderance of the evidence. Whenever a question requires an answer other
than “yes” or “no,” your answer must be based on a preponderance of the evidence.
       The term “preponderance of the evidence” means the greater weight of credible evidence
presented in this case. If you do not find that a preponderance of the evidence supports a “yes”
answer, then answer “no.” A preponderance of the evidence is not measured by the number of
witnesses or by the number of documents admitted in evidence. For a fact to be proved by a
preponderance of the evidence, you must find that the fact is more likely true than not true.

       7. Do not decide who you think should win before you answer the questions and then just
answer the questions to match your decision. Answer each question carefully without considering
who will win. Do not discuss or consider the effect that your answers will have.
               8. Do not answer questions by drawing straws or by any method of chance.
       9. Some questions might ask you for a dollar amount. Do not agree in advance to decide
on a dollar amount by adding up each juror’s amount and then figuring the average.
       10. Do not trade your answers. For example, do not say, “I will answer this question your
way if you answer another question my way.”
        11. The answers to the questions must be based on the decision of at least 10 of the 12
jurors. The same 10 jurors must agree on every answer. Do not agree to be bound by a vote of
anything less than 10 jurors, even if it would be a majority.




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       As I have said before, if you do not follow these instructions, you will be guilty of juror
misconduct, and I might have to order a new trial and start this process over again. This would
waste your time and the parties’ money, and it would require the taxpayers of this county to pay
for another trial. If a juror breaks any of these rules, tell that person to stop and report it to me
immediately.

        A fact may be established by direct evidence or circumstantial evidence or both. A fact is
established by direct evidence when proved by documentary evidence or by witnesses who saw
the act done or heard the words spoken. A fact is established by circumstantial evidence when it
may be fairly and reasonably inferred from other facts proved.

         The rules of evidence provide that where testimony and opinions on certain issues might
assist the jury in understanding the evidence or in determining a fact in issue, a witness qualified
as an expert by knowledge, skill, experience, training, or education may testify and state his or
her opinion concerning such matters.

       You should consider each expert opinion received in evidence in this case and give it such
weight as you may think it deserves. If you should decide that the opinion of an expert witness is
not based on sufficient education and experience, or if you should conclude that the reasons given
in support of the opinion are not sound, or that the opinion is outweighed by other evidence, then
you may disregard the opinion entirely.

        When you have answered all the questions you are required to answer under the
instructions of the judge, and your presiding juror has placed your answers in the spaces provided
and signed the verdict as presiding juror or obtained the signatures, you will inform the bailiff at
the door of the jury room that you have reached a verdict, and then you will return into court with
your verdict.

       Answer “Yes” or “No” to all questions unless otherwise instructed. A “Yes” answer must
be based on a preponderance of the evidence unless otherwise instructed. If you do not find that a
preponderance of the evidence supports a “Yes” answer, then answer “No.” The term
“preponderance of the evidence” means the greater weight and degree of credible evidence
admitted in this case. Whenever a question requires an answer other than “Yes” or “No,” your
answer must be based on a preponderance of the evidence unless otherwise instructed.




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                                        DEFINITIONS

       “Negligence” means the failure to use ordinary care, that is failing to do what which a
person of ordinary prudence would have done under the same or similar circumstances of doing
that which a person of ordinary prudence would not have done under the same or similar
circumstances.

       “Ordinary Care” means that degree of care that would be used by a person of ordinary
prudence under the same or similar circumstances.

       “Proximate Cause” means that cause which, in a natural and continuous sequence,
produces an event, and without which cause such event would not have occurred. In order to be a
proximate cause, the act or omission complained of must be such that a person using ordinary care
would have foreseen that the event, or some similar event, might reasonably result therefrom.
There may be more than one proximate cause of an event.




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                                    QUESTION NO. 1

       Did the negligence, if any, of those named below proximately cause the occurrence in
question?


       Answer “Yes” or “No” for each of the following:

   a. SHAULIS BOOKER                      _______________




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       If you answered “No” to Question No. 1, do not answer the following questions.

Otherwise, answer the following questions.

                                       QUESTION NO. 2

    What sum of money, if paid now in cash, would fairly and reasonably compensate
ATARAH MCCOY for her injuries that resulted from the occurrence in question?
        Consider the elements of damages listed below and none other. Consider each element
separately. Do not award any sum of money on any element if you have otherwise, under some
other element, awarded a sum of money for the same loss. That is, do not compensate twice for
the same loss, if any. Do not include interest on any amount of damages you find.
        If a preexisting injury or condition was not causing any symptoms at the time of the
occurrence in question but made the plaintiff more susceptible to injury than a person without that
injury or condition, include damages, if any, resulting from a combination of the preexisting injury
or condition and the occurrence in question.
        Answer separately, in dollars and cents, for damages, if any. Do not reduce the amounts, if
any, in your answers because of the negligence, if any, of ATARAH MCCOY. Any recovery will
be determined by the Court when it applies the law to your answers at the time of judgment.
   1. Medical care expenses incurred in the past by ATARAH MCCOY.

   Answer: ______________

   2. Medical care expenses that, in reasonable probability, ATARAH MCCOY will sustain in
      the future.

   Answer: ____________

   3. Physical pain sustained in the past by ATARAH MCCOY.

   Answer: ____________

   4. Physical pain that, in reasonable probability, ATARAH MCCOY will sustain in the
      future.

   Answer: ____________

   5. Mental anguish sustained in the past by ATARAH MCCOY.

   Answer: ____________

   6. Mental anguish that, in reasonable probability, ATARAH MCCOY, will sustain in the
      future.
   Answer: ____________


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   7. Physical impairment sustained in the past by ATARAH MCCOY.

   Answer: ______________

   8. Physical impairment that, in reasonable probability, ATARAH MCCOY will sustain in
      the future.

   Answer: ______________




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                                        Presiding Juror

   1. When you go into the jury room to answer the questions, the first thing you will need to do
      is choose a presiding juror.

   2. The presiding juror has these duties:

       a. Have the complete charge read aloud if it will be helpful to your deliberations;

       b. Preside over your deliberations, meaning manage the discussions, and see that you

           follow these instructions;

       c. Give written questions or comments to the bailiff who will give them to the judge;

       d. Write down the answers you agree on;

       e. Get the signatures for the verdict certificate; and

       f. Notify the bailiff that you have reached a verdict.

       Do you understand the duties of the presiding juror? If you do not, please tell me now.


                       Instructions for Signing the Verdict Certificate
   1. You may answer the questions on a vote of ten jurors. The same ten jurors must agree on
      every answer in the charge. This means you may not have one group of ten jurors agree
      on one answer and a different group of ten jurors agree on another answer.

   2. If ten jurors agree on every answer, those ten jurors sign the verdict.
       If eleven (11) jurors agree on every answer, those eleven jurors sign the verdict.
       If all twelve (12) of you agree on every answer, you are unanimous and only the presiding
       juror signs the verdict.
   3. All jurors should deliberate on every question. You may end up with all twelve of you
      agreeing on some answers, while only ten or eleven of you agree on other answers. But
      when you sign the verdict, only those ten who agree on every answer will sign the verdict.
       Do you understand these instructions? If you do not, please tell me now.




                                                       JUDGE PRESIDING


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                                      Verdict Certificate


_____          Our verdict is unanimous. All twelve (12) of us have agreed to each and every
               answer. The presiding juror has signed the certificate for all twelve of us.
               _________________________               _________________________
               Signature of Presiding Juror           Printed Name of Presiding Juror
_____          Our verdict is not unanimous. Eleven of us have agreed to each and every answer
               and have signed the certificate below.
_____          Our verdict is not unanimous. Ten of us have agreed to each and every answer and
               have signed the certificate below.
               SIGNATURE                           NAME PRINTED
1.     ____________________________                ____________________________
2.     ____________________________                ____________________________
3.     ____________________________                ____________________________
4.     ____________________________                ____________________________
5.     ____________________________                ____________________________
6.     ____________________________                ____________________________
7.     ____________________________                ____________________________
8.     ____________________________                ____________________________
9.     ____________________________                ____________________________
10.    ____________________________                ____________________________
11.    ____________________________                ____________________________




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